IN THE UNTIED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
SUSAN R. ROBY, )
)
Plaintiff, )
)
V. ) Case No. 3 : 13-0035
) Chief Judge Haynes
LP CLARKSVILLE, LLC, d/b/a )
SIGNATURE HEALTHCARE OF )
CLARKSVILLE, )
)
Defendant. )

O R D E R
Upon the parties’ stipulation of dismissal (Docket Entry No. 6), pursuant to Fed. R. Civ.
P. 41(a)(1)(A)(ii), this action is DISMISSED Without prejudice Eaeh party to pay its own
costs, attorney’s fees, and expenses
This is the Final Order in this action.
lt is so ORDERED.

ENTEREDthiSthe /& day OfFebruary, 2013.

WILLIAM @A@§s §R.

Chief Judge
United States District Court

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